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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

 UNITED STATES OF AMERICA                         3:18-cr-00319-JO-06

                        v.                        GOVERNMENT=S MEMORANDUM
                                                  IN SUPPORT OF PRE-TRIAL
 CHAD LEROY ERICKSON,                             DETENTION

                  Defendant.

       The United States of America, by and through Billy J. Williams, United States Attorney

for the District of Oregon, and Leah K. Bolstad, Assistant United States Attorney, hereby

requests an order to detain defendant pre-trial as he presents a danger to the community and a

risk of flight or non-appearance.

I.     PROCEDURAL BACKGROUND

       A federal grand jury has returned a superseding indictment charging defendant and five

co-defendants with a long-term Racketeering Conspiracy (Count 1, 18 U.S.C. § 1962(d)).

Defendant is also charged with several violent crimes, including Murder in Aid of Racketeering

(Count 2, 18 U.S.C. § 1959(a)(1)); Kidnapping in Aid of Racketeering, Resulting in Death


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(Count 3, 18 U.S.C. § 1959(a)(1)); Kidnapping, Resulting in Death (Count 4, 18 U.S.C. §

1201(a)(1)); and Conspiracy to Commit Kidnapping, Resulting in Death (Count 5, 18 U.S.C. §

1201(c)).

       In this racketeering enterprise, lead defendants Kenneth Hause and Mark Dencklau hold a

leadership roles as the National President (a/k/a “the Wiz”), and President of the Portland

Chapter of the Gypsy Joker Outlaw Motorcycle Club respectively. The superseding indictment

includes notice of special findings as to Counts 2 and 4, including that defendant Erickson

intentionally killed the victim and intentionally inflicted serious bodily injury that resulted in the

death of the victim. (ECF No. 105, page 25). These allegations trigger the highest federal

penalties possible: sentences of either life or death. See 18 U.S.C. §§ 1959(a)(1), 1201(a).

       Murder co-defendants Dencklau, Fisher, Pribbernow 1, Negrinelli, and Folkerts, already

made appearances in this case and litigated the detention issue. Magistrate Judges in the District

of Oregon have detained all five of those defendants as dangers to the community and flight

risks. On July 9, 2018, Judge Acosta held a detention hearing for co-defendant Dencklau and

ordered him detained. (ECF No. 16). On August 31, 2018, Judge Papak held a detention

review hearing for defendant Dencklau, and again he was ordered detained. (ECF No. 61). On

July 10, 2018, Judge Acosta held a detention hearing for co-defendant Fisher and ordered him

detained. (ECF No. 18). During a review of detention on July 18, 2018, Judge Acosta again

ordered Fisher detained as a danger and flight risk. (ECF No. 36). On July 16, 2018, Judge

Acosta ordered detention for co-defendant Pribbernow. (ECF No. 32).




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  Co-defendant Pribbernow already pled guilty in November 2018 to a Superseding Information
alleging a Racketeering Conspiracy, so he is not listed as a co-defendant in the Superseding
Indictment (ECF No. 105).
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       On January 31, 2019, Judge Acosta detained co-defendants Folkerts and Negrinelli on

both prongs: flight risk and danger to the community. (ECF No. 108). On February 4, 2019, co-

defendant Negrinelli re-raised the detention issue with another magistrate judge, Judge Russo,

who again ordered detention of Negrinelli as a flight risk and danger to the community,

consistent with the detention recommendation of U.S. Pretrial. (ECF No. 115). Notably,

compared to defendant Erickson, Negrinelli has less criminal history and zero history of failing

to appear. Additionally, unlike detained defendants Folkerts and Negrinelli, defendant Erickson

remains an active member of the Gypsy Joker Outlaw Motorcycle Club (GJOMC). As such, he

presents a higher risk of danger.

II.    FACTUAL BACKGROUND

       On July 1, 2015, the body of Robert Huggins (56) was found lying in a field in the 1500

block of NE 179th Street, Ridgefield, Clark County, State of Washington. Huggins had

sustained numerous injuries to his head and face, including a split upper lip. Huggins had

bruising around both eyes and blood on his face and in his hair. Additionally, Huggins’ right

nipple appeared to have been cut off, and the left nipple partially cut off. Huggins had

numerous lacerations and incisions to the torso, including two intersecting lacerations or

incisions that cut through a tattoo on the victim’s upper left chest. Huggins’ torso had numerous

other significant lacerations and incisions. These injuries appeared to have taken some time to

inflict, and appeared consistent with torture. Huggins lost a significant amount of blood, and

possibly teeth and fragments of skin, during the course of the assault. At the autopsy, the Clark

County Medical Examiner documented the numerous injuries including a broken right leg and

skull fractures indicative of numerous areas of blunt force trauma to the head. The Medical

Examiner ruled the cause of death to be multiple blunt and sharp force injuries.

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       Investigators identified the victim as Robert Lee Huggins, born in 1959. Gang

investigators were familiar with Huggins (a/k/a “Bagger”), who had been a documented

"patched" member of the Gypsy Jokers Motorcycle Club (GJOMC), who, within the year before

his murder, stripped of his patch and kicked out of the club for allegations that he stole from the

club and broke their rules. Because of this, Huggins was “out bad” at the time of his murder.

       Further investigation revealed that after being kicked out of the club in 2014, Huggins

and others participated in an early June 2015 burglary and robbery at the Woodburn home of co-

defendant Mark DENCKLAU – the President of the Portland GJOMC Chapter. In this robbery,

Huggins and his co-conspirators allegedly “tied up and robbed” Dencklau’s girlfriend, and stole

Dencklau’s property, including firearms. When a delivery-man arrived at Dencklau’s home

with a package, he found Dencklau’s girlfriend still tied up in zip-ties, and quite distraught. She

begged him to call only Dencklau, and not the police, because the GJOMC handles their own

business.

       Investigators obtained phone records from around the June 5, 2015 robbery at Dencklau’s

residence. After Dencklau received the phone calls from the delivery person, alerting him to the

robbery, Dencklau placed several phone calls to GJOMC members and associates. The first call

was to co-defendant Kenneth Hause. The second call was to co-defendant, Ryan Negrinelli,

Dencklau’s prospect. The third call was to co-defendant Earl Fisher. In the days and weeks

following this robbery, GJOMC members including defendant Erickson, engaged in a man-hunt

for Robert “Bagger” Huggins. When they finally found him on June 30, 2015, they kidnapped

him in Portland, drove him to Woodland, Washington, where they beat and tortured him to

death, and then dumped his brutalized body in a field – a powerful message to anyone who dares

to cross the Gyspy Joker Outlaw Motorcycle Club.

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       In terms of defendant’s participation in the racketeering conspiracy, the evidence shows

that at the time of this 2015 murder, defendant Erickson was an active member in the Gypsy

Joker Outlaw Motorcycle Club. Cooperating witness statements describe Erickson’s direct

participation in the kidnapping and transport of Huggins, and his subsequent torture murder.

Erickson used physical violence on the murder victim by slashing at Huggins’ body with a knife,

and slashing an “X” through certain tattoos. Meanwhile, other co-defendants punched Huggins,

applied burning wire to his body, and participated in water-boarding Huggins. Erickson also

helped the co-conspirators dispose of evidence and clean the scene after the murder.

III.   ANALYSIS

       A.      Rules of Evidence Do Not Apply at Detention Hearing

       The Federal Rules of Evidence do not apply in pretrial detention proceedings. Fed. R.

Evid. 1101(d)(3); 18 U.S.C. § 3142(f).     Accordingly, both the government and the defense may

present evidence by proffer or hearsay.    United States v. Winsor, 785 F.2d 755, 756 (9th Cir.

1986); see also United States v. Bibbs, 488 F.Supp.2d 925, 925-26 (N.D. Cal. 2007).

       B.      Rebuttable Presumption of Detention Applies in this Case

       Under the Bail Reform Act, 18 U.S.C. § 3142, et seq., which governs the detention of a

defendant pending trial, the Court shall order a defendant detained if, after a hearing, it finds that

“no condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community.” The United States bears the

burden of establishing danger to the community by clear and convincing evidence; risk of flight

need only be proved by a preponderance of the evidence.       United States v. Aitken, 898 F.2d 104,

107 (9th Cir. 1990);   Winsor, 785 F.2d at 757.



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       Section 3142 also provides that, subject to rebuttal by the person, “it shall be presumed

that no condition or combination of conditions will reasonably assure the appearance of the

person as required and the safety of the community if the judicial officer finds that there is

probable cause to believe that the person committed … an offense for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. 801

et seq.)….” In Count 1, defendant is charged with a Racketeering Conspiracy with underlying

predicates to include drug trafficking (21 U.S.C. § 841 and 846), witness tampering (18 U.S.C. §

1512), and state offenses of murder, kidnapping, robbery, and extortion.      The statutory

maximum sentence for this crime is 20 years’ imprisonment, which is greater than 10 years.

Therefore, this is a presumptive detention case. 18 U.S.C. § 3142(e)(3)(a).

       In this case, because of the presumption, the burden of proof shifts to the defendant

to rebut the presumption of dangerousness. United States v. Carbone, 793 F.2d 559, 560 (3d Cir.

1986); cf. United States v. Hir, 517 F.3d 1081, 1086 (9th Cir. 2008) (noting that in terrorism case

involving the presumption, “the presumption shifts a burden of production to the defendant, [but]

the burden of persuasion remains with the government”).       Even if the presumption is rebutted,

however, the presumption does not disappear, but continues to carry evidentiary weight. See Hir,

517 F.3d at 1086 (“The presumption is not erased when a defendant proffers evidence to rebut it;

rather the presumption remains in the case as an evidentiary finding militating against release, to

be weighed along with other evidence relevant to factors listed in § 3142(g),” internal quotations

and citation omitted).

       A court should consider the following factors if a defendant proffers evidence to rebut the

presumption of dangerousness:

            (1) the nature and circumstances of the offense charged; (2) the
            weight of the evidence against the person; (3) the history and
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               characteristics of the person, including the person’s character,
               physical and mental condition, family and community ties,
               employment, financial resources, past criminal conduct, and
               history relating to drug or alcohol abuse, supervision status at the
               time of the current offense; and (4) the nature and seriousness of
               the danger to any person or the community that would be posed by
               the defendant's release.

18 U.S.C. § 3142(g); Hir, 517 F.3d at 1086. In this case, defendant is charged with participating

in a violent racketeering conspiracy as well as substantive offenses for murder and kidnapping in

aid of racketeering.   Facing the highest penalties that exist in the federal system – life or death –

he poses a flight risk and danger to the community.

       C.      Factors Supporting Detention

       Defendant cannot meet his burden of rebutting the presumption that “no condition or

combination of conditions of release will reasonably assure the appearance of the person as

required and the safety of the community.” But even if the Court finds that defendant has met

his burden of rebutting the presumption against release with whatever proposed release plan

he intends to submit—and it should not—the government asserts the factors from 18 U.S.C. §

3142(g) require detention here.

               1. Nature and Circumstances of the Offense

       The nature and circumstances of this offense weigh heavily in favor of detention.       The

indictment in this case alleges defendant is a full patched member of a long-term violent

racketeering conspiracy. Moreover, the indictment alleges defendant directly participated in

kidnapping and murdering the victim in late June 2015. Notably, the charged offenses allege

defendant committed these crimes in aid of racketeering, and specifically for the Gypsy Joker

Outlaw Motorcycle Club (the enterprise).

               2. Weight of the Evidence

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       The weight of the evidence is strong and supports detention here.    This indictment arises

from a long-term federal investigation that includes numerous witness statements, surveillance

video, eyewitness testimony, phone toll records, cell tower location records (obtained with

search warrants), co-conspirator statements, and cooperating defendant statements.

               3. History and Characteristics of the Defendant

       This factor also weighs against defendant.    As summarized by the Pretrial report,

defendant has multiple criminal convictions, at least one involving a firearm. He has a history

of poor performance on supervision, and non-compliance with court-imposed conditions.

Within the past seven years, since 2012, defendant has amassed at least thirteen (13) failures to

appear. Notably, when he fails to appear, it often takes weeks or sometimes months for law

enforcement to find him for arrest. In 2017, he failed to appear for a DUII arraignment in July,

and it took over one year to find him. He is a risk of flight because he does not show up to court

appearances on his own.

               4. Nature and Seriousness of the Danger if Released

       The superseding indictment alleges that this racketeering enterprise is a criminal

organization whose members engage in offenses involving narcotics trafficking and acts of

violence involving murder, robbery, extortion, firearms offenses and obstruction of justice.

(ECF No. 105, ¶ 14). Members of the enterprise share a common purpose to preserve and

protect their territory through the use of intimidation, violence, and threats of violence. (ECF

No. 105, ¶ 12a-b). Specifically, the grand jury alleged this enterprise keeps victims, witnesses,

and community members in fear of GJOMC members and associates through threats of violence

and actual violence. (ECF No. 105, ¶ 12d). Thus, the government is concerned that if released,

this defendant will engage in conduct the Bail Reform Act cites as problematic: the obstruction

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or attempted obstruction of justice through acts of violence or intimidation towards prospective

witnesses. 18 U.S.C. § 3142(f)(2)(B).

       The charged racketeering enterprise - the Gypsy Joker Outlaw Motorcycle Club

(GJOMC) – has already attempted to find a key witness in this investigation, prompting law

enforcement to relocate the witnesses out-of-state. Prior to the state indictment in 2016,co-

defendant Dencklau sent two Gypsy Joker members to find his ex-girlfriend who had moved to a

hotel in Salem. When approached, she called the police in a frenzy to ask for help and

protection from these violent individuals. In the recorded call, she said she feared retaliation

because she knew too much about a murder directed by her ex-boyfriend, co-defendant

Dencklau.

       Defendant was and is a self-proclaimed member of the Gypsy Joker Outlaw Motorcycle

Club, he was a close associate of co-defendant and Chapter President Mark Dencklau. As such,

he has the ability and resources to direct others to engage in obstructive activity.   Keeping him

in custody pending trial will restrict his access to these resources and ensures that whatever plans

he may have to obstruct justice can be monitored by investigators and jailors.

III.   CONCLUSION

       In summary, the relevant inquiry for the court is whether there are conditions that can be

placed upon defendant that will reasonably assure the safety of the community and defendant’s

appearance in court. Here, there are none. If released “on conditions,” defendant’s history

with this group, the violent acts towards witnesses and enemies, and the nature of the instant

offense demonstrate that he is a danger to the community.      He faces extreme sentencing

exposure, so he has a significant incentive to flee.   Defendant’s role in a violent enterprise also

increases the risk that he will continue to engage in witness tampering, obstruction, and possible

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violence towards witnesses and co-conspirators in this case.    Accordingly, the government

respectfully requests that the Court detain defendant pending trial.

Dated: March 27, 2019                                Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     /s/ Leah K. Bolstad
                                                     LEAH K. BOLSTAD, OSB #052039
                                                     Assistant United States Attorney




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